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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10   DONNIE LEE WALTON, JR.,           )   CASE NO. CV 19-10245-DMG (PLA)
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11                  Petitioner,        )   ORDER ACCEPTING FINAL REPORT AND
                                       )   ADOPTING FINDINGS, CONCLUSIONS,
12             v.                      )   AND RECOMMENDATIONS OF UNITED
                                       )   STATES MAGISTRATE JUDGE, AND
13   JAMES ROBERTSON, WARDEN,          )   DENYING CERTIFICATE OF
                                       )   APPEALABILITY
14                  Respondent.        )
                                       )
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16        Pursuant to 28 U.S.C. Section 636, the Court has reviewed the
17   Petition, records on file, and the Final Report and Recommendation of
18   the United States Magistrate Judge.   Further, the Court has engaged in
19   a de novo review of those portions of the original Report to which
20   Petitioner has objected.   The Court accepts the Final Report and
21   adopts the findings, conclusions, and recommendations of the
22   Magistrate Judge.
23        Further, for the reasons stated in the Final Report and
24   Recommendation, the Court finds that Petitioner has not made a
25   substantial showing of the denial of a constitutional right or that
26   the court erred in its procedural ruling and, therefore, a certificate
27   of appealability is denied.   See 28 U.S.C. § 2253(c)(2); Fed. R. App.
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 1   P. 22(b); Miller-El v. Cockrell, 537 U.S. 322, 336 (2003); Slack v.
 2   McDaniel, 529 U.S. 473, 484 (2000).
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 4   DATED: October 19, 2020
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 7                                 DOLLY M. GEE
                                   UNITED STATES DISTRICT JUDGE
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